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                             1    Bonnie MacNaughton (CA State Bar No. 107402)
                                  Emily Goodell (pro hac vice)
                             2    DAVIS WRIGHT TREMAINE LLP
                                  920 Fifth Avenue, Suite 3300
                             3    Seattle, WA 98104
                                  Telephone:    (206) 622-3150
                             4    Facsimile:    (206) 757-7700
                                  Email:        bonniemacnauAton@dwt_com
                             5                  emilygoodell@dwt.com

                             6    John D. Freed (CA State Bar No. 261518)
                                  DAVIS WRIGHT TREMAINE LLP
                             7    505 Montgomery Street, Suite 800
                                  San Francisco, CA 94111-6533
                             8    Telephone:    (415) 276-6500
                                  Facsimile:    (415) 276-6599
                             9    Email:        jakefreed@dwt.com

                            10    Attorneys for Plaintiff
                                  AMAZON.COM, INC.
                            11    AMAZON TECHNOLOGIES, INC.
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                            12
                                                              UNITED STATES DISTRICT COURT
                            13
                                                            NORTHERN DISTRICT OF CALIFORNIA
                            14
                                                                          OAKLAND DIVISION
                            15
                                  AMAZON.COM, INC., a Delaware corporation,            Case No. 4:23-cv-05580-DMR
                            16    and AMAZON TECHNOLOGIES, INC., a
                                  Nevada corporation,                                  DECLARATION OF STEVEN
                            17
                                                                                       WILLIAMS IN SUPPORT OF
                                                            Plaintiffs,                PLAINTIFFS' MOTION FOR
                            18
                                         v.                                            EXPEDITED DISCOVERY
                            19
                                  UMER WASIM, et al.,
                            20
                                                            Defendants.
                            21

                            22

                            23           I, Steven Williams, declare as follows:
                            24           1.      I am over the age of 18 and am competent to testify on the matters set forth
                            25    herein. I make the following declaration based on personal knowledge.
                            26           Qualifications and Personal Knowledge
                            27           2.      I am an investigator at Davis Wright Tremaine, LLP. I have over twenty years of
                            28    experience as an investigator, which includes investigating malicious online conduct like the

                                                                                   1
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                             1    scheme described in the Complaint that was perpetrated by the defendants. I have personal
                             2    knowledge of the facts described below, and am competent to make this declaration.

                             3           3.      Counsel for Amazon.com, Inc. ("Amazon") at Davis Wright Tremaine, LLP
                             4    instructed me to investigate certain online conduct perpetrated by currently unknown defendants

                             5    ("Defendants").

                             6           Web Design Stop; webdesignstop.com

                             7           4.      I have reviewed an Amended Complaint filed in relation to Uniform Domain

                             8    Name Dispute Resolution Policy ("UDRP") Decision 2305002043019, which lists the registrant

                             9    for amazondirectpublisher.com, amazonpublishingfirm.com, amazonkdppublishingpros.com,

                            10    amazonpublishingoffice.com, and amzprofs.com as "Web / Design Stop", with a contact email

                            11    address of support@webdesignstop.com. Web / Design Stop's address is listed as being 2880
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                            12    Zanker Road North, Suite 203, San Jose, CA 95134, United States, and its phone number is

                            13    listed as being +1 4082167976.

                            14           5.      I have investigated this domain, webdesignstop.com, and viewed an active
                            15    website at the domain on 11/13/23. At the time of the visit, the website host was identified as

                            16    being Siteground.net.

                            17           6.      The domain was registered on 6/17/21. The registrar for this website is

                            18    Namecheap, Inc., and the registrant information is "Redacted for Privacy". The registrant

                            19    organisation was Withheld for Privacy ehf.

                            20           7.      On 11/13/23, the website advertised a contact phone number of 408-216-8766, a

                            21    physical address of 2880 Zanker Road North, Suite 203, San Jose, CA 95134, and a contact
                            22    email of sales@webdesignstop.com.

                            23           8.      I investigated phone number 408-216-8766, and confirmed that it is administered

                            24    by the provider Vonage Holdings Corp.

                            25           9.      I investigated phone number 408-216-7976, provided as registrant contact

                            26    information for registrant Web/Design Stop, and confirmed that it is administered by the

                            27    provider Vonage Holdings Corp.

                            28           10.     I investigated phone number 408-785-0278, associated with the "Call Us" radio

                                                                         2
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                            1     button located in the top right-hand corner of www.webdesignstop.com, and confirmed that it is

                            2     administered by the provider Level 3 Communications, whose parent company is Lumen

                             3    Technologies, Inc.

                            4            11.     I investigated the above-identified address at 2880 Zanker Road North in San

                            5     Jose, and confirmed that it is the location of a virtual office provider Regus, which is owned by

                             6    IWG PLC group.

                            7            12.     The website offers a chat capability. According to the website's source code, this

                            8     feature is supported by Zendesk, Inc.

                             9           13.     According to the page source code, the website also uses Google Tags. I know

                            10    that Google Tags can be deployed to collect data on webpages. Google Tags are managed using

                            11    a Google Tag Manager account, provided by Google, LLC.
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                            12    (https://support.stoogle.com/tagmanager/answer/11994839?h1=en#:—:text—The%20Gooide%20ta

                            13    g%201ets%20you.of%20your%20website%20and%20ads.).
                            14           14.     I have searched online sources, including the California's Secretary of States's

                            15    website and the National Corporation Directory, and was not able to obtain results for the entity

                            16    names "Web Design Stop", or Web/Design. Stop".

                            17           15.     I reviewed preservations of the websites at the following domains;

                            18    amazonpublishingoffice.com ("Website 1"); amazondirectpublisher.com ("Website 2");

                            19    amazonkdppublishingpros.com ("Website 3"); amazonpublishingfu-m.com ("Website 4"); and

                            20    amzprofs.com ("Website 5").

                            21           16.     Website 2 and Website 5 offered a chat capability. According to the websites'

                            22    archived source code, this feature was supported by Zendesk, Inc. According to Website 5's

                            23    archived source code, the website also used Google Tags.

                            24           17.     I investigated phone numbers advertised on these websites and confirmed that

                            25    they are administered by the indicated providers below;

                            26                   408-440-5333 (Onvoy, LLC, a Sinch Company)

                            27                   408-600-0309 (Level 3 Communications, whose parent company is Lumen

                            28           Technologies, Inc.)

                                                                        3
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                             1                   408-728-9333 (Level 3 Communications, whose parent company is Lumen

                            2            Technologies, Inc.)

                            3                    408-689-7746 (Level 3 Communications, whose parent company is Lumen

                            4            Technologies, Inc.)

                             5           18.     I investigated the physical addresses on these websites, and confirmed that they

                             6    are locations of the mail service or virtual office providers below;

                             7                   123 E San Carlos St., San Jose, CA 95112 (Annex Brands, Inc.)

                             8                   6017 Snell Ave, San Jose, CA 95123 (Sustainable 2 U Inc.)

                             9                   116 E Live Oak Ave., Arcadia, CA 91006 (TT Post Services Inc.)

                            10           TMAZ Services Digital

                            11           19.     I reviewed correspondence from the company Stripe, Inc., declining a chargeback
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                            12    in the amount of $4,000, which indicated a merchant name of "TMAZServicesDigital", merchant

                            13    website of "webdesignstop.com", transaction information, a customer name for the individual

                            14    identified in the Complaint as Victim 1, and communications from an unidentified individual

                            15    representing the brand "Amazon Publishing Office" and referencing the web address

                            16    www.amazonpublishingoffice.com.

                            17           Atlas Technologies

                            18           20.     I have reviewed an Amended Complaint filed in relation to Uniform Domain

                            19    Name Dispute Resolution Policy ("UDRP") Decision 2305002043019, which lists the registrant

                            20    for amazonproinc.com as "Atlas Technologies", with a contact email address of

                            21    atlastechnologiespvt@gmail.com. Atlas Technologies' address is listed as being 1117 Lattimore

                            22    Dr, Clermont, FL 34711, USA Lattimore, Florida 34711 PK, and its phone number is listed as

                            23    being +92.03209299214.

                            24           21.     I know that Gmail is a free email service provided by Google, LLC.

                            25           22.     I have searched online sources, including the website for the Securities &

                            26    Exchange Commission of Pakistan, and was unable to obtain results for the entity name "Atlas

                            27    Technologies". I also searched the Florida Department of State, Division of Corporations

                            28    website, as well as the National Corporation Directory, and was unable to locate any results for

                                                                         4
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                            1     an entity named "Atlas Technologies", that had any identifiers in common with those provided

                            2     for the registrant Atlas Technologies.

                            3            Website 6; amazondigitalpublishing.com

                            4            23.     I have investigated this domain using DomainTools, and viewed a preservation of

                             5    a website from 7/22/22 that was active at this domain. At the time of the preservation, the

                             6    website host was identified as being Namecheaphosting.com.

                             7           24.     The domain was registered on 7/5/22. The registrar for this website at the time

                             8    was Namecheap, Inc., and the registrant information provided was "Redacted for Privacy". The

                             9    registrant organi7ation was Withheld for Privacy ehf.

                            10           25.     On 7/22/22, the website advertised a contact phone number of 855-416-4096, a

                            11    physical address of 5201 Great America Pkwy, Unit 320, Santa Clara, CA 95054, and a contact
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                            12    email address of info@amazondigitalpublishing.com.

                            13           26.     I investigated this phone number, and confirmed that it is administered by the

                            14    provider DIALPAD, INC.

                            15           27.     I investigated this address, and confirmed that it is the location of a virtual office

                            16    provider, Regus, which is owned by IWG PLC group.

                            17           Website 8; amazondiaitalpublisher.com

                            18           28.     I have investigated this domain using DomainTools, and viewed a preservation of

                            19    a website from 9/20/22 that was active at this domain. At the time of the preservation, the

                            20    website host was identified as being Namecheaphosting.com.

                            21           29.     The domain was registered on 9/8/22. The registrar for this website at the time

                            22    was Namecheap, Inc., and the registrant information provided was "Redacted for Privacy". The

                            23    registrant orgrnization was Withheld for Privacy ehf.

                            24           30.     On 9/20/22, the website advertised a contact phone number of 855416-4096, a

                            25    partial physical address of 5201 Great America Pkw, Clara, CA 95054, and contact email

                            26    addresses of info(a;amazondigitalPublisher.com and compliance@amazondigitalpublisher.com

                            27           Website 9; amazondidtalpublishers.com

                            28           31.     I have investigated this domain using DomainTools, and viewed a preservation of

                                                                         5
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                            1     a website from 9/19/22 that was active at this domain. At the time of the preservation, the

                            2     website host was identified as being Namecheaphosting.com.

                            3            32.     The domain was registered on 9/7/22. The registrar for this website at the time

                            4     was Namecheap, Inc., and the registrant information provided was "Redacted for Privacy". The

                             5    registrant organization was Withheld for Privacy ehf.

                             6           33.     On 9/19/22, the website advertised a contact phone number of 855-287-7372, a

                             7    physical address of 5201 Great America Pkwy, Unit 320, Santa, Clara, CA 95054, and a contact

                            8     email address of info(aamazondigitalpublishers.com.

                             9           34.     I investigated this phone number, and confirmed that it is administered by the

                            10    provider DIALPAD, INC.

                            11           Website 11.1; amazonpublisInwasol.com
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                            12           35.     I have investigated this domain using DomainTools, and viewed a preservation of

                            13    a website from 9/14/22 that was active at this domain. At the time of the preservation, the

                            14    website host was identified as being Namecheaphosting.com.

                            15           36.     The domain was registered on 8/22/22. The registrar for this website at the time

                            16    was Namecheap, Inc., and the registrant information provided was "Redacted for Privacy". The

                            17    registrant organization was Withheld for Privacy ehf.

                            18           37.     On 9/14/22, the website advertised a contact phone number of 855-408-6467, a

                            19    physical address of 5201 Great America Pkwy, Unit 320, Santa Clara, CA 95054, and a contact

                            20    email address of info@amazonpublishingsol.com.
                            21           38.     I investigated this phone number, and confirmed that it is administered by the

                            22    provider DIALPAD, INC.

                            23           Website 19; amzdigitalpro.com

                            24           39.     I have investigated this domain using DomainTools, and viewed a preservation of

                            25    a website from 8/1/23 that was active at this domain. At the time of the preservation, the website

                            26    host was identified as being Dns-parking.com.

                            27           40.     The domain was registered on 5/9/23. The registrar for this website at the time

                            28    was GoDaddy.com, LLC., and the registrant information provided was "Registration Private".

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                            1     The registrant organization was Domains by Proxy, LLC.
                             2             41.   The website offered a chat capability. According to the website's archived source

                             3    code, this feature was supported by Zendesk, Inc. According to the archived website source code,

                             4    the website also used Google tags.

                             5             42.   On 8/1/23, the website advertised a contact phone number of 877-313-0795, a

                             6    physical address of 80 Broad Street, 5th Floor, New York City, NY 10004, and a contact email

                             7    address of info(mamazondigitalpro.com.

                            8              43.   I investigated this phone number, and confirmed that it is administered by the

                             9    provider TELNYX, LLC.

                            10             44.   I investigated this address, and confirmed that it is the location of a virtual office

                            11    provider, Regus, which is owned by IWG PLC group.
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                            12             Website 22; amazonkcipublishin2-com

                            13             45.   I have investigated this domain using DomainTools, and viewed a preservation of

                            14    a website from 3/1/23 that was active at this domain. At the time of the preservation, the website

                            15    host was identified as being Namecheaphosting.com.

                            16             46.   The domain was registered on 2/28/23. The registrar for this website at the time

                            17    was Namecheap, Inc., and the registrant information provided was "Redacted for Privacy". The

                            18    registrant organization was Withheld for Privacy ehf.

                            19             47.   The website offered a chat capability. According to website's source code, this

                            20    feature was supported by Zendesk, Inc.

                            21             48.   On 3/1/23, the website advertised a contact phone number of 844-533-5766, and a

                            22    physical address of 5670 Wilshire Boulevard Mid-Wilshire, Suite 1800, Los Angeles, CA

                            23    90036.

                            24             49.   I investigated this phone number, and confirmed that it is administered by the

                            25    provider Bandwidth, Inc.

                            26             50.   I investigated this address, and confirmed that it is the location of a virtual office

                            27    provider, Regus, which is owned by IWG PLC group.

                            28             Website 23; amazonkdppublication.com

                                                                         7
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                            1           5L      I have investigated this domain using DomainTools, and viewed a preservation of

                            2    a website from 8/3/23 that was active at this domain. At the time of the preservation, the website

                            3    host was identified as being Domaincontrol.com.

                            4           52.     The domain was registered on 5/24/23. The registrar for this website at the time

                            5    was GoDaddy.com, LLC, and the registrant information provided was "Registration Private".

                            6    The registrant organization was Domains by Proxy, LLC.

                            7           53.     The website offered a chat capability. According to website's archived source

                            8    code, this feature was supported by Zendesk, Inc. According to the archived website source code,

                            9    the website also used Google tags.

                           10           54.     On 8/3/23, the website advertised a contact phone number of 888-531-1665, and a

                           11    physical address of One Pierrepont Plaza, Brooklyn, NY 11201.
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                           12           55.     I investigated this phone number, and confirmed that it is administered by the

                           13    provider TELNYX, LLC.

                           14           56.     I investigated this address, and confirmed that it is the location of a virtual office

                           15    provider, Regus, which is owned by IWG PLC group.

                           16           Website      amazonproiessionalpunnsners.com

                           17           57.     I have investigated this domain, www.amazonprofessionalpublishers.com, and

                           18    viewed an active website at the domain on 11/13/23. At the time of the visit, the website host

                           19    was identified as being Trademarkcanon.corn.

                           20           58.     The domain was registered on 3/27/23. The registrar for this website is

                           21    Namecheap, Inc., and the registrant information is "Redacted for Privacy". The registrant

                           22    organization was Withheld for Privacy ehf.

                           23           59.     On November 13, 2023, the website advertised a contact phone number of 855-

                           24    408-6467, a physical address of 5201 Great America Pkwy, Unit 320, Santa Clara, CA 95054,

                           25    and a contact email of info@amazonprofessionalpublishers.com.

                           26           60.     The website offers a chat capability. According to the website's source code, this

                           27    feature is supported by Zendesk, Inc. According to the page source code, the website also uses

                           28    Google tags.

                                                                        8
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                            1     Executed this 4th day of December, 2023 in Mo tgomery V-11age, Maryland.
                            2
                                                                        By:
                                                                              Steven J. W'1 iams
                             4                                          DAVIS WRIGHT TREMAINE LLP
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